                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                                  LYNCHBURG DIVISION

    SYLVIA JANE RODARTE.                          )
                                                  )
           Plaintiff                              )       CASE NO:        6:12-cv-00055-NKM
    v.                                            )
                                                  )
    WAL-MART ASSOCIATES, INC.,                    )
                                                  )
    and                                           )
                                                  )
    WAL-MART STORES EAST, L.P.                    )
                                                  )
           Defendants.                            )

                       PLAINTIFF'S RESPONSE TO MOTION TO DISMSS

            COMES NOW the plaintiff, Sylvia Jane Rodarte, by counsel, and in response to
    the Defendants' Motion to Dismiss, filed with the court on October 16,2012, states as
    follows:

    1.     This matter was filed by the plaintiff in the Circuit Court for the County of
           Rockbridge, Virginia on September 12, 2012, alleging facts that gave rise to
           claims specified by the plaintiff as malicious prosecution, wrongful
           imprisonment, intentional infliction of emotional distress, abuse of process and
           defamation, as well as alleging that the claims, if proven would entitle the
           plaintiff to punitive damages.

    2.     The defendants filed a Notice of Removal on October 9,2012, availing
           themselves of federal jurisdiction based on diversity of citizenship.

    3.     Subsequently, defendants filed a Motion to Dismiss pursuant to Fed. R. Civ. P
           12(b)(6), alleging that toe plaintiff had failed to state a claim upon which relief
           could be granted.

    3.     This matter having been removed to the U.S. District Court, federal procedural
           pleading rules apply, rather than Virginia state rules.

    4.     The plaintiff has stated her claims sufficiently to illuminate the nature of the
           claims and to allow defendants to respond, and has stated a claim that is plausible
           on its face, satisfying the standards of Fed. R. Civ. P. 8.




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    5.     For these reasons and for the reasons set forth more fully in the Brief in Support
           of Plaintiff s Response to Motion to Dismiss filed herewith and incorporated by
           reference herein.

    6.     In the alternative, should the Court find that any claim filed by the plaintiff does
           not adequately state a claim upon which relief could be granted, plaintiff hereby
           moves the Court for leave to amend her complaint pursuant to Fed. R. Civ. P
           15(a)(2).


                                                                  SYLVIA JANE RODARTE

                                                                  By /s/ Brian J. McNamara
                                                                  "       or Counsel

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           Counsel for the plaintiff




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                                 CERTIFICATE OF SERVICE

             I hereby certify that on this 13th dayof'November, 2012. I electronieally flied
    Plaintiff's Response to Defendants' Motion to Dismiss and Plaintiff's Brief in Support of
    Plaintiffs Response to Defendants' Motion to Dismiss using the CMlECF system, which
    will send a notice and a true copy thereof electronically to: .

                                Rebecca Signer Roche, Esquire
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                                               and

                                    Kevin Kraham, Esquire
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                                               ~




                                                /s/Brian J. McNamara
                                                Brian J. McNamara




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